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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 CHRISTOPHER PATRICK,
                                                   Case No.: 1:19-cv-00230-LPS
                 Plaintiff,

         v.

 LOXO ONCOLOGY, INC., JOSHUA H.
 BILENKER, STEVE ELMS, KEITH T.
 FLAHERTY, AVI Z. NAIDER, LORI A.
 KUNKEL, ALAN FUHRMAN, TIM
 MAYLEBEN, STEVE D. HARR, ELI
 LILLY AND COMPANY, and BOWFIN
 ACQUISITION CORPORATION,

                 Defendants.


                                    NOTICE OF DISMISSAL
       Notice is hereby given pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure that plaintiff Christopher Patrick (“Plaintiff”) voluntarily dismisses the captioned

action (the “Action”) with prejudice. Because this notice of dismissal is being filed with the

Court before service by Defendants of either an answer or a motion for summary judgment,

Plaintiff’s dismissal of the Action is effective upon the filing of this notice.


Dated: February 12, 2019                               O’KELLY ERNST & JOYCE, LLC

                                                       /s/ Ryan M. Ernst
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